           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                         CRIMINAL NO. 1:08CR10




UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )             ORDER
                                          )
                                          )
CALVIN LEONARD WORTHEN                    )
                                          )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and Rich Cassady is hereby permitted to file an interim fee petition in this

matter.


                                      Signed: July 10, 2008




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